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                          Exhibit 005


                          REDACTED
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                                                 THE CENTER FOR
                           FORENSIC ECONOMIC STUDIES
                                                   Economic & Statistical Analysis
                                                   CFES@CFES.COM    WWW.CFES.COM


                                      EXPERT ANALYSIS AND TESTIMONY SINCE 1980


Reply to Cherry Hill Office                                                                           Chad L. Staller, J.D., MBA, MAC, CVA
                                                                                                                                   President

                                                                                                          James Markham, Ph.D., J.D., CPCU
                                                                                                                          Senior Economist

November 15, 2023                                                                                                    Bernard F. Lentz, Ph.D.
                                                                                                                          Senior Economist

                                                                                                                            David R. Adams
Nicholas Reddick, Esquire                                                                                                  Senior Economist

Willkie Farr & Gallagher LLP                                                                                Stephen M. Dripps, M. Fin., CVA
                                                                                                                 Senior Economist / Manager
One Front Street                                                                                                               Brian Conley
San Francisco, CA 94111                                                                                                    Senior Economist

                                                                                                                              Adam Gilham
                                                                                                                                 Economist




Re:   Martino et al. v. Islamic Republic of Iran, Case No. 1:21-cv-01808-RDM (D.D.C.):
Economic Damages Analysis for Adam Kisielewski

Dear Mr. Reddick:

At your request, we assess the economic loss suffered by Adam Kisielewski as a result of an
incident which occurred on August 21, 2005. We reserve the right to amend this report upon
receipt of any additional relevant information.

I.         DOCUMENTS RELIED UPON

     Declaration of Adam Kisielewski
     Certificate of Release or Discharge from Active Duty of Adam Kisielewski
     Social Security Earnings History of Adam Kisielewski
Any additional documents used in preparation of this report, such as professional and
governmental publications, are fully cited herein.




     This report has been prepared for the use of counsel in the instant matter. Given the personal, financial and/or
     medical information contained herein, any transmission, copy, or utilization of this report or material contained
         herein is strictly prohibited without the written consent of the Center for Forensic Economic Studies.

                  20 BRACE ROAD, SUITE 425, CHERRY HILL, NEW JERSEY 08034 • (215) 546-5600 • FAX (215) 732-8158
                              1725 "I" STREET, NW, SUITE 300, WASHINGTON, DC 20006 • (202) 530-8808
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II.     BACKGROUND

                                                    At the time of the incident, he
           was enlisted in the United States Marine Corps (“USMC”) as a Corporal with an E-4
paygrade.2 Mr. Kisielewski entered active duty on March 25, 2002 and was discharged from
active duty on October 3, 2006 due to the injuries he sustained during the August 21, 2005
incident.3 Mr. Kisielewski was promoted to Sergeant (E-5 paygrade) shortly before being
discharged.4




Mr. Kisielewski received a             disability rating from the United States Department of
Veterans’ Affairs (“VA”).7



III.    EARNING HISTORY
Mr. Kisielewski’s recent earning history, as reported on his available Social Security earnings
history, is shown in Table A below:

                                    Table A: Kisielewski Earning History
                                Year        Earnings        Year        Earnings
                                2006                        2014
                                2007                        2015
                                2008                        2016
                                2009                        2017
                                2010                        2018
                                2011                        2019
                                2012                        2020
                                2013                        2021
                                                            2022



Additionally, as mentioned above in Section II, at the time of Mr. Kisielewski’s discharge, he
was a Sergeant with an E-5 pay grade. As of 2006, the basic pay for an E-5 with over 3 years of

1
  Certificate of Release or Discharge from Active Duty of Adam Kisielewski
2
  Certificate of Release or Discharge from Active Duty of Adam Kisielewski
3
  Certificate of Release or Discharge from Active Duty of Adam Kisielewski
4
  Certificate of Release or Discharge from Active Duty of Adam Kisielewski
5
  Declaration of Adam Kisielewski, #20
6
  Declaration of Adam Kisielewski, #21, #22
7
  Certificate of Release or Discharge from Active Duty of Adam Kisielewski; Declaration of Adam Kisielewski, #19
8
  Declaration of Adam Kisielewski, #20; Dates expressed to us by counsel.
9
  Expressed to us by counsel.



                                                       2
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service was equal to $2,029 per month, $24,343 annually. 10 Additionally, housing and
subsistence allowances for pay grade E-5 were equal to $661 and $272 per month or $7,931 and
$3,267 annually, respectively.11

IV.      MILITARY DURATION; WORKLIFE AND LIFE EXPECTANCY

     1. Military Duration

We assume absent the incident,



     2. Worklife Expectancy

We offer two worklife estimates. In our first estimate we adjust earnings to account for
statistical worklife data. Mr. Kisielewski’s statistical worklife expectancy is equivalent to
continuous worklife to age       based on his age and level of education.13 In our second
estimate, we assume continuous worklife to age             Mr. Kisielewski’s Social Security
retirement age.14

     3. Statistical Life Expectancy

Mr. Kisielewski’s statistical life expectancy, calculated from his age on the current date, is to age
                      15
    in the year

V.       EARNING CAPACITY ABSENT THE INCIDENT

     1. Military Service

To estimate Mr. Kisielewski’s active duty and reserve earnings with the USMC, we are guided
by the current military pay charts. We commence our estimate of lost military earnings and
allowances from November 1, 2006. Mr. Kisielewski’s active duty earnings schedule is outlined
below in Table A:




10
   https://www.dfas.mil/retiredmilitary/manage/payschedule/
11
   https://www.dfas.mil/retiredmilitary/manage/payschedule/
12
   Declaration of Adam Kisielewski, #19
13
   Skoog, Ciecka and Krueger. The Markov Process Model of Labor Force Activity 2012-17: Extended Tables of
Central Tendency, Shape Percentile Points, and Bootstrap Standard Errors. Journal of Forensic Economics 28(1),
2019, pp. 15-108.
14
   https://www.ssa.gov/benefits/retirement/planner/agereduction.html
15
   Arias E, Xu, JQ. United States Life Tables, 2020. National vital statistics reports; vol 71 no 1. Hyattsville, MD:
National Center for Health Statistics, 2022.



                                                          3
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                       Table A: Kisielewski Active Duty Military Pay Through March 24, 2008
                                                 Pay                 Housing Subsistence
                         Year        Age                  Basic Pay
                                             Grade/Status           Allowance Allowance
                         2006                  E5- AD
                         2007                  E5- AD
                         2008                  E5 - AD

As outlined above in Table A, Mr. Kisielewski’s active duty service is assumed to end as of
March 24, 2008, at which point he would transition to his reserve obligation through the end of
his commitment on March 24, 2010. Mr. Kisielewski’s reserve duty pay schedule is outlined
below in Table B:

                                   Table B: Kisielewski Reserve Duty Military Pay
                                              Through March 24, 2010

                                                             Pay      Total Drill
                                     Year        Age
                                                         Grade/Status    Pay
                                     2008                    E5 - Res
                                     2009                    E5 - Res
                                     2010                    E5 - Res

Mr. Kisielewski’s reserve obligation is comprised of 48 annual drills or units and two weeks of
annual training, consistent with the United States military requirements.

       2. Civilian Service

Earnings projections in this section of our report are based on U.S. Census data which estimate
average earnings in 2021 by age group for different levels of educational attainment. 16 We
assume that as of Mr. Kisielewski’s transition to his reserve service in 2008, he would have
entered into a Bachelor’s degree program in an effort to further his career aspirations in law
enforcement and intelligence. We assume Mr. Kisielewski would have entered the labor market
with entry-level Bachelor’s degree earnings as of January 1, 2012.

We additionally assume Mr. Kisielewski would have entered a Master’s degree program while
working and would have been able to complete the program as of January 1, 2016. At which
point we assume Mr. Kisielewski’s annual earnings would have been equal to an entry-level
Master’s degree holder. We assume Mr. Kisielewski’s earnings would have linearly increased to
those of his statistical age cohort by January 1, 2020.




16
     U.S. Census Bureau, https://www.census.gov/data/tables/time-series/demo/income-poverty/cps-pinc/pinc-04.html



                                                         4
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VI.     EARNING CAPACITY GIVEN THE INCIDENT

Given Mr. Kisielewski’s                                        to estimate his earning capacity
given the incident we utilize his reported earnings from 2006 through 2022. Additionally, from
2023 forward we utilize Mr. Kisielewski’s 2021 and 2022 reported earnings of             as our
base.

VII. EARNINGS GROWTH ABSENT THE INCIDENT

     1. Past Growth

To estimate earnings growth from 2012 to the present, we rely on the annual change in average
hourly earnings for workers All Occupations in Maryland. 17

     2. Future Growth

Future earnings growth is estimated to be 2.99% per year. This rate represents the average
annual rate of change in average hourly earnings for workers in All Occupations in Maryland
from 2002 to 2022.18

VIII. EARNINGS GROWTH GIVEN THE INCIDENT

     1. Past Growth

To estimate earnings growth from 2022 to the present, we rely on the annual change in average
hourly earnings for workers in Management Occupations in Maryland. 19

     2. Future Growth

Future earnings growth is estimated to be 2.71% per year. This rate represents the average
annual rate of change in average hourly earnings for workers in Management Occupations in
Maryland from 2002 to 2022.20




17
   Occupational Employment Statistics, U.S. Department of Labor, Bureau of Labor Statistics,
http://www.bls.gov/oes 2012-13: 0.95%, 2013-14: 1.14%, 2014-15: 2.22%, 2015-16: 2.70%, 2016-17: 2.04%,
2017-18: 2.62%, 2018-19: 2.48%, 2019-20: 5.63%, 2020-21: 3.60%, 2021-23: 5.84% per annum
18
   Occupational Employment Statistics, U.S. Department of Labor, Bureau of Labor Statistics,
http://www.bls.gov/oes
19
   Occupational Employment Statistics, U.S. Department of Labor, Bureau of Labor Statistics,
http://www.bls.gov/oes 2022-23: 1.54%
20
   Occupational Employment Statistics, U.S. Department of Labor, Bureau of Labor Statistics,
http://www.bls.gov/oes



                                                     5
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IX.     TAXES

Federal and state taxes are calculated and deducted using Federal and Maryland state tax rates.
In calculating Mr. Kisielewski’s income taxes, we assume that he would file as married filing
jointly through 2050. The tax rates applied to Mr. Kisielewski’s earnings range from
        in our earnings absent scenario and from                 in our earnings given
          21
scenario.

X.      MARGINAL LOST FRINGE BENEFITS
According to a study conducted by the U.S. Department of Labor, private industry workers in the
U.S. economy receive retirement benefits equal, on average, to 4.8% of annual earnings. 22 We
employ this rate in projecting the marginal loss of fringe benefits.

XI.     PRESENT VALUE

Future values are discounted to their present value in recognition that a lump sum will be
awarded in the present year and the recipient will be able to invest this principal amount
received. We also recognize that in addition to the principal amount received, a substantial
portion of the interest received in the years following the award will be reinvested.

In calculating present value, a distinction is made between the rate of return on the principal and
that received on the reinvested interest. The average yield on high-grade Municipal Bonds as of
October 7, 2023, 4.95%, was used to estimate the return on the principal investment. 23 The
average yield on these bonds from 2003 to 2022, 3.82% per year, was used to estimate the return
on the reinvested interest.24

XII. TABLES
Tables 1 and 2 show lost earning capacity assuming average Master’s degree holder earnings
absent, annual earnings given equal to         and worklife to age     and       respectively.




21
   http://www.taxformcalculator.com/
22
   Employer Costs for Employee Compensation, December 2022, U.S. Department of Labor, Bureau of Labor
Statistics, http://www.bls.gov/news.release/ecec.toc.htm
23
   Economic Indicators, September 2023; https://www.govinfo.gov/app/collection/econi
24
   Economic Report of the President, March 2023, Table B-42:
https://www.govinfo.gov/content/pkg/ERP-2023/pdf/ERP-2023.pdf



                                                     6
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XIII. SUMMARY

As outlined in Tables 1 and 2, the total economic loss ranges from $1,796,269 to $1,906,778. It
should be noted that our estimates of economic loss do not include the value of past or future
medical expenses, Mr. Kisielewski’s pain and suffering, or and additional elements of non-
economic damages.

Please do not hesitate to contact us if you have further questions.

All relevant documents as required by F.R.C.P. 26(a)(2)(B) are attached hereto as Appendix A.

Sincerely,

The Center for Forensic Economic Studies




Chad L. Staller, JD, MBA, MAC, CVA
    f


Stephen M. Dripps, M.Fin., CVA




                                                 7
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 Table 1: Kisielewski Value of Lost Earning Capacity Assuming Average Master's Degree Holder Earnings Absent, Annual Earnings Given Equal to
                                                               and Worklife to Age
                                                                                                          Marginal
                                               Housing Subsistence                 Civilian
                   Rank/Pay    Basic Pay                             Drill Pay                Earnings      Lost                 Net Annual
  Year     Age                                Allowance Allowance                 Earnings                             Taxes
                    Grade       Absent                                Absent                   Given     Retirement                 Loss
                                               Absent    Absent                    Absent
                                                                                                          Benefits
  2006                 E5
  2007                 E5
  2008                 E5
  2009                 E5
  2010                 E5
  2011                  -                 -            -        -             -
  2012                  -                 -            -        -             -
  2013                  -                 -            -        -             -
  2014                  -                 -            -        -             -
  2015                  -                 -            -        -             -
  2016                  -                 -            -        -             -
  2017                  -                 -            -        -             -
  2018                  -                 -            -        -             -
  2019                  -                 -            -        -             -
  2020                  -                 -            -        -             -
  2021                  -                 -            -        -             -
  2022                  -                 -            -        -             -
  2023                  -                 -            -        -             -
  2024                  -                 -            -        -             -
  2025                  -                 -            -        -             -
  2026                  -                 -            -        -             -
  2027                  -                 -            -        -             -
  2028                  -                 -            -        -             -
  2029                  -                 -            -        -             -
  2030                  -                 -            -        -             -
  2031                  -                 -            -        -             -
  2032                  -                 -            -        -             -
  2033                  -                 -            -        -             -
  2034                  -                 -            -        -             -
  2035                  -                 -            -        -             -
  2036                  -                 -            -        -             -
  2037                  -                 -            -        -             -
  2038                  -                 -            -        -             -
  2039                  -                 -            -        -             -
  2040                  -                 -            -        -             -
  2041                  -                 -            -        -             -
  2042                  -                 -            -        -             -
  2043                  -                 -            -        -             -
  2044                  -                 -            -        -             -
  2045                  -                 -            -        -             -
  2046                  -                 -            -        -             -
  2047                  -                 -            -        -             -
  2048                  -                 -            -        -             -
                                                              Summary - Table 1
Past Loss (2006-2023)
Future Loss (2024-2048)               -            -           -            -
Total Loss                                                                                                                         1,796,269




                                                                     8
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 Table 2: Kisielewski Value of Lost Earning Capacity Assuming Average Master's Degree Holder Earnings Absent, Annual Earnings Given Equal to
                                                              , and Worklife to Age

                                                                                                           Marginal
                                               Housing Subsistence                  Civilian
                   Rank/Pay    Basic Pay                              Drill Pay                Earnings      Lost                Net Annual
  Year     Age                                Allowance Allowance                  Earnings                            Taxes
                    Grade       Absent                                 Absent                   Given     Retirement                Loss
                                               Absent    Absent                     Absent
                                                                                                           Benefits
  2006                 E5
  2007                 E5
  2008                 E5
  2009                 E5
  2010                 E5
  2011                  -                 -            -         -             -
  2012                  -                 -            -         -             -
  2013                  -                 -            -         -             -
  2014                  -                 -            -         -             -
  2015                  -                 -            -         -             -
  2016                  -                 -            -         -             -
  2017                  -                 -            -         -             -
  2018                  -                 -            -         -             -
  2019                  -                 -            -         -             -
  2020                  -                 -            -         -             -
  2021                  -                 -            -         -             -
  2022                  -                 -            -         -             -
  2023                  -                 -            -         -             -
  2024                  -                 -            -         -             -
  2025                  -                 -            -         -             -
  2026                  -                 -            -         -             -
  2027                  -                 -            -         -             -
  2028                  -                 -            -         -             -
  2029                  -                 -            -         -             -
  2030                  -                 -            -         -             -
  2031                  -                 -            -         -             -
  2032                  -                 -            -         -             -
  2033                  -                 -            -         -             -
  2034                  -                 -            -         -             -
  2035                  -                 -            -         -             -
  2036                  -                 -            -         -             -
  2037                  -                 -            -         -             -
  2038                  -                 -            -         -             -
  2039                  -                 -            -         -             -
  2040                  -                 -            -         -             -
  2041                  -                 -            -         -             -
  2042                  -                 -            -         -             -
  2043                  -                 -            -         -             -
  2044                  -                 -            -         -             -
  2045                  -                 -            -         -             -
  2046                  -                 -            -         -             -
  2047                  -                 -            -         -             -
  2048                  -                 -            -         -             -
  2049                                    -            -         -             -
  2050                                    -            -         -             -
                                                               Summary - Table 2
Past Loss (2006-2023)
Future Loss (2024-2050)               -            -            -            -
Total Loss                                                                                                                         1,906,778




                                                                      9
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      THE CENTER FOR
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             1608 Walnut Street - Suite 801, Philadelphia, Pennsylvania 19103 - (215) 546-5600 - FAX (215) 732-8158
                                                  E-Mail Address: cfes@cfes.com
November 17, 2023

Nicholas Reddick, Esquire
Willkie Farr & Gallagher LLP
One Front Street
San Francisco, CA 94111


Re: Martino, et al. v. Islamic Republic of Iran
Our File # 5071
Dear Mr. Reddick:

Our compensation rates for professional time and testimony are listed below:



                 Professional time (Hourly)                                                     $ 365
                 Testimony/Deposition (Half Day Session)                                      $ 2600
                 Expenses                                                                As Incurred


We have not yet totaled the time invested in this matter. When that calculation is made we will then
forward the total to you.




Sincerely,

The Center for Forensic Economic Studies




Chad L. Staller, J.D., M.B.A., M.A.C.
President

CLS/da
            Case 1:21-cv-01808-RDM           Document 41-5            Filed 12/13/23          Page 12 of 30




                                                                                                20 Brace Road, Suite 425
                                                                                                   Cherry Hill, NJ 08034




                                                Chad Staller, J.D., M.B.A., M.A.C., C.V.A
                                                President, Senior Economist
                                                800.966.6099 | 215.546.5600 | fax 215.732.8158
                                                cstaller@cfes.com

                                   Chad L. Staller is president of the Center for Forensic Economic Studies. He has
                                   extensive experience working with both plaintiff and defense counsel in a wide variety
                                   of civil matters, quantifying loss sustained by many types of plaintiffs, including union
                                   members, state and federal employees, business owners and injured children. He regularly
Accreditation                     analyzes claims brought in employment-discrimination matters, quantifying back-pay
                                   damages, front-pay damages and lost benefits, and also frequently consults on commercial
Certified Valuation Analyst        matters, analyzing lost-profit and business-interruption claims. In addition to Mr. Staller’s
(C.V.A.) by the National           litigation practice, Mr. Staller consults with clients in non-litigation matters related to
Association of Certified           labor-union negotiations, business valuations, and cost-benefit assessments.
Valuation Analysts, 2007.
                                   He serves on the faculty of Temple University’s Beasley School of Law LL.M. in Trial
Certified Instructor by the        Advocacy program and lectures regularly at Villanova University School of Law and
National Institute of Trial        Drexel University’s Thomas R. Kline School of Law. Mr. Staller is a certified instructor
Advocacy (NITA), 2013.             through the National Institute of Trial Advocacy where he lectures to practicing lawyers in
                                   the area of forensic economics. He frequently presents seminars and speaks on forensic-
                                   economic topics at law firms, accounting continuing education seminars, and before
Education                          professional organizations.

                                   He received his Master of Business Administration, with honors, from the Fox School
Villanova University, Master of
                                   of Business and Management at Temple University. Mr. Staller also received his Juris
Accountancy, 2006.
                                   Doctorate, with honors, from the Beasley School of Law at Temple University and
                                   his Master of Accountancy from Villanova University. He holds a C.V.A. through the
Temple University, Fox School of   National Association of Certified Valuation Analysts.
Business & Management, Master
of Business Administration,
Certificate of Academic            Professional Organizations & Affiliations
Excellence, Concentration in
Business Administration, 2005.        •   American Economic Association
                                      •   National Association of Forensic Economics
Temple University’s James E.          •   American Bar Association
Beasley School of Law, Juris          •   American Academy of Economic and Financial Experts
Doctorate, Cum Laude, 2001.

Lehigh University, Bachelor
                                   Awards and Honors
of Science in Business and
Economics, 1998.                      •   2014 Honoree as a “Top 40 Under 40” for work as an Economic Damages
                                          Expert by NACVA and CTI.
                                      •   Winner of The Legal Intelligencer’s “Best Of” Survey 2010-2023
                                          Forensic Economist.

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Professional Background

President and Senior Economist, the Center for Forensic Economic Studies, Philadelphia, Pennsylvania, concentrating on the analysis
of, and testimony on, commercial damages (lost profits), personal-injury and wrongful-death damages and damages and liability in
labor and employment matters (including FINRA arbitrations). July 2005 - present.

Law practice representing a wide range of clients, including major trucking companies and insurance firms. Served as lead attorney in
many types of civil matters, including personal injury, product liability, premises liability, breach of contract, contract interpretation
and trademark filings before the United States Trademark Office.

Law Clerk to Judge S. Michael Pincus, Circuit Court for Montgomery County, Maryland.

Research Assistant, Lehigh Valley Economic Development Corporation, Allentown, Pennsylvania. Developed a wage-analysis study
showing which industries would be best suited to the Lehigh Valley region.



Selected Engagements

Commercial Disputes

   •   Evaluated economic loss relating to an alleged breach of contract involving a startup UPS franchise.
   •   Evaluated economic loss to a limousine company resulting from the destruction of a portion of its fleet.
   •   Evaluated economic loss relating to crop damage sustained by a commercial farm as a result of a housing developer’s conduct.
   •   Evaluated economic loss sustained by real property owner as a result of a property manager’s conduct.
   •   Evaluated economic loss stemming from an alleged breach of an employment contract with a medical practice.
   •   Evaluated economic loss sustained by a commercial property owner as a result of an alleged breach of contract.
   •   Evaluated economic loss sustained by an airline services company as a result an alleged breach of contract with the prior owner.
   •   Evaluated economic loss resulting from a disputed business acquisition of an emergency-response firm.
   •   Performed a valuation of a controlling interest in an insurance-claims processor.
   •   Performed a valuation of a controlling interest in a coin-operated laundry.
   •   Evaluated economic loss to many other types of businesses, including:
          • Photo finishers
          • Information technologists
          • Funeral homes
          • Dry cleaners
          • Grocers
          • Medical practices
          • Cable TV services
          • Interpreters




                                                                                ■ THE CENTER FOR FORENSIC ECONOMIC STUDIES ■
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                                                                                                               Cherry Hill, NJ 08034




Personal Injury and Wrongful Death Matters

Calculated economic loss to individuals in a variety of occupations, including but not limited to:

   •   Accountants                                               •    Mechanics
   •   Children with projected lost future earnings              •    Pilots
   •   Construction workers                                      •    Police officers
   •   Doctors, nurses and other medical professionals           •    Retirees
   •   Financial advisors (including FINRA Arbitrations)         •    Sales representatives
   •   Homemakers                                                •    Teachers
   •   Information technologists                                 •    Union members
   •   Lawyers                                                        (ironworkers, carpenters, steamfitters, electrical workers,
                                                                      laborers and painters)
Employment Discrimination

Calculate back-pay/front-pay damages for employees terminated from employment. Additionally, routinely conduct labor market
surveys of available positions in the relevant labor market. Illustrative industries include but are not limited to:

   •   Federal and state employees
                                                             •       Construction
   •   Protective services
                                                             •       Production and manufacturing
   •   Healthcare
                                                             •       Insurance
   •   Financial services
                                                             •       Maritime
   •   Transportation
                                                             •       Legal
   •   Education
                                                             •       Information Technolog

Publications
   •   “What’s It Worth? Best Practices in Defending Economic Damages in the Catastrophic Accident.” (with Matthew Keris),
       Litigation Management Magazine, Fall 2012.
   •   “Without a Floor There is Only a Ceiling.” Counter Point, Pennsylvania Defense Institute, August 2012.
   •   “PA Courts Make the Case for Detailed Damages Arguments,” New Jersey Law Journal, May 23, 2012.
   •   “PA Courts Make the Case for Detailed Damages Arguments,” Pennsylvania Law Weekly, May 8, 2012.
   •   “Personal Injury Damages Road Map,” US Law Magazine Spring/Summer 2012.
   •   “Is It Finally Time to Challenge Kaczkowski,” Counterpoint (the Pennsylvania Defense Institute), October 2011.
   •   “Goodbye Kaczkowski? A Recent Ruling Reopens the Door to Debate,” The Pennsylvania Law Weekly, May 20, 2011.
   •   “Practice Tip: Lost Earning Capacity of Undocumented Workers,” Product Liability Law & Strategy, May 2011.
   •   “The Basics of Pension Damages,” Product Liability Law & Strategy, October 2010.
   •   “Hedonic Damages Update,” Product Liability Law & Strategy, February 2010.
   •   “A Tax Break for Plaintiffs Raises Interesting Issues,” Employment Law Strategist, November 2009 (With Stephen M. Dripps).
   •   “An Economist Defends Against Punitive Damages,” Product Liability Law & Strategy, December 2008.
   •   “Determining Damages in the Keystone State,” At Issue, Young Lawyers Division of the Pennsylvania Bar Association,
       Winter 2008.
   •   “Determining Damages to Entrepreneurs,” Product Liability Law & Strategy, February 2008.
   •   “The Earning Capacity of Business Owners,” Product Liability Law & Strategy, November 2007.
   •   “Economic Damages 101,” The Sidebar: The New Lawyers Division Newsletter, American Association for Justice, Fall 2007.
   •   “Sixth Circuit Rules on Privilege in Two Cases,” Product Liability Law & Strategy, April 2007.

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                                                                                                 Cherry Hill, NJ 08034



Faculty/Lectures
 •   Temple University’s Beasley School of Law LL.M. in Trial Advocacy program, 2007 - present
 •   Rutgers Institute for Professional Education, 2011- present
 •   Villanova University School of Law, 2005 - present
 •   Drexel University’s Thomas R. Kline School of Law Trial Advocacy Program, 2012 - present
 •   University of Pennsylvania, Organizational Dynamics Exchange Network, Graduate Division of Arts & Sciences,
     November 2011
 •   University of Baltimore School of Law, October 2013, November 2010
 •   Mid Atlantic Council Institute of Management Accountants, November 2015, Exton, Pennsylvania
 •   Main Line Association for Continuing Education, “MACE” Accounting, Malvern, PA March 2014
 •   American Association of Nurse Life Care Planners, Philadelphia PA, November 2013
 •   American Rehabilitation Economics Association, June 2016
 •   Pennsylvania Defense Institute, Annual Conference, July 2013
 •   Philadelphia Bar Association, Medical Legal Committee Meeting, February 2013
 •   National Business Institute, Philadelphia, Pennsylvania, December 2007, 2008 & 2010
 •   National Business Institute, Philadelphia, Pennsylvania, November 2013
 •   National Business Institute, Philadelphia, Pennsylvania, February 2015
 •   Council on Litigation Management: Orlando, FL, March 2019, Orlando, FL, April 2016, Boca Raton, FL, April 2014, Boston, MA,
     July 2013, San Antonio, TX, April 2013, Nashville, TN, November 2012, Washington, DC, May 2012, Philadelphia, PA, October
     2011, Milwaukee, WI, June 2011, New Orleans, LA, March 2011, Jacksonville, FL, March 2010
 •   Defense Research Institute (DRI), Civil Rights and Governmental Tort Liability Seminar, Miami Beach, February 2012
 •   Ballard Spahr, Philadelphia, Pennsylvania, May 2010, May 2012, May 2014
 •   Cozen O’Connor Trial Academy (COTA), Philadelphia, Pennsylvania, June 2009, June 2011, June 2013, June 2015, June 2019 and
     June 2022
 •   PIAA, November 2015, New Orleans, Louisianna
 •   US Attorney’s Office, Newark, New Jersey, December 2010
 •   Sunoco, Philadelphia, December 2010
 •   Middlesex Community College paralegal program, Middlesex, New Jersey, November 2008
 •   New York City Law Department, New York, New York, 2008
 •   Defense Research Institute (DRI), Defending Trucking Litigation, A Primer for Young Lawyers, Chicago Illinois, June 2015
 •   “The Art and Science of Economic Damages” ALM Litigation Summit, Philadelphia Pennsylvania September 2016
 •   Defense Trial Counsel of Indiana, “Economic Damages in the Catastrophic Injury Case”French Lick Indiana, November 2017
 •   Main Line Accounting Association for Continuing Education, “10 Commandments of an Accounting Expert Witness”
     Malvern, PA December 2017
 •   Pennsylvania Bar Institute, Employment Law Institute, “Getting Real on Economic Damages”, April 2018
 •   Golkow Continuing Education Program, “Economic Damages In the Catastrophic Injury Case”, Philadelphia, PA November 2017
 •   Golkow Continuing Education Program, “Economic Damages In the Catastrophic Injury Case”, Cherry Hill, NJ March 2018
 •   Markel Insurance Continuing Education Program, “Economic Damages In the Catastrophic Injury Case”, Red Bank, NJ April 2018
 •   Cozen O’Connor Deposition Training Academy, Philadelphia, PA, June 2018.
 •   PASHRM, “Economic Damages In the Catastrophic Injury Case”, Blue Bell, PA September 2018
 •   Joint North-South Jersey Inn of Court Meeting, “Economic Experts in Employment Cases”, Kenilworth, NJ, January 2019
 •   Southern Economic Association 89th Annual Conference, National Association of Forensic Economics division, Tax Gross-Ups in
     Employment Litigation: A NJ Case Study, Ft. Lauderdale FL, November 2019
 •   National Business Institute, Philadelphia, PA, April 2020
 •   The Expert and the Daubert/Frye Hearing, The American Academy of Economic and Financial Experts Annual Meeting, April 2021.

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Testimony

Federal Court:
Central District of California, District of Columbia, District of New Jersey, Eastern District of Pennsylvania, Middle District of
Pennsylvania, Southern District of New York, District of Delaware, Eastern District of New York, District of Maryland, Western
District of Louisiana

State Court:
Delaware, District of Columbia, Florida, Illinois, Maryland, Massachusetts, Missouri, New Hampshire, New Jersey, New York, Ohio,
Pennsylvania, Virginia, West Virginia

State Bar Memberships

   •   Maryland
   •   Pennsylvania
   •   New Jersey

Community Service

POVAT, Project One Vet @ A Time

Contact Information

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                                                 Stephen M. Dripps, M.Fin., CVA
                                                 Senior Economist / Statistician
                                                 800.966.6099 | 215.546.5600 | fax 215.732.8158
                                                 sdripps@cfes.com

                                     Stephen M. Dripps is a Senior Economist at the Center for Forensic Economic Studies. He
                                     concentrates on the analysis of economic damages in personal injury, wrongful death,
                                     employment discrimination and commercial matters. Since 1997, he has worked closely
                                     with Center clients on discovery, damages analysis, deposition strategy, cross examination
Accreditation                       strategyand the scope of direct testimony.

Certified Valuation Analyst          Mr. Dripps also manages the analyst staff at the Center. He serves as an expert witness
(“CVA”) by the National              at mock trials conducted at Temple University’s Beasley School of Law LLM Trial
Association of Certified             Advocacy Program.
Valuation Analysts (“NACVA”),
2015.                                Mr. Dripps received his Bachelor’s Degree in Statistics and his Master’s Degree in Finance
                                     from Pennsylvania State University. Mr. Dripps is a member of Beta Gamma Sigma,
Education                            the international business honor society. Mr. Dripps is certified as a Certified Valuation
                                     Analyst by the National Association of Certified Valuation Analysts.
Pennsylvania State University,
Master of Finance, 2013.             Professional Background
Pennsylvania State University,       Senior Economist/Manager, The Center for Forensic Economic Studies, Philadelphia,
Bachelor of Science in Statistics,   Pennsylvania, concentrating on the analysis of personal injury, wrongful death,
Minor in Business                    employment discrimination, commercial damages, and business valuation, August
Administration and Economics,        2008 to present.
1997.
                                     Senior Analyst, The Center for Forensic Economic Studies, Philadelphia, Pennsylvania,
                                     July 2003 to August 2008.

                                     Analyst, The Center for Forensic Economic Studies, Philadelphia, Pennsylvania, October
                                     1997 to July 2003.

                                     Awards and Honors

                                        •   Dean’s List, Pennsylvania State University
                                        •   Beta Gamma Sigma




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Selected Engagements

Commercial Disputes

   •   Performed valuation of partner interests in a specialty computer software company.
   •   Performed valuation of intangible assets of an agricultural communications company.
   •   Performed valuation of majority interest in a plumbing sales supply company.
   •   Performed valuation of profit sharing interest in a hospitality management company.
   •   Evaluated economic loss to a municipality resulting from alleged breach of contract to timely provide a tax collection computer
       software system.
   •   Evaluated economic loss to an architectural design firm resulting from business interruption due to a fire on the premises.
   •   Evaluated economic loss involving many other types of businesses, including:
   •   Evaluated economic loss to many other types of businesses, including:
          • Automotive repair
          • Financial services
          • Home construction
          • Medical practice



Employment Matters

Calculated lost back and front pay in employment claims involving salary, bonus payments, employee stock options, defined benefit
pensions, defined contribution pensions, performance based profit-sharing plans, insurance benefits and other types of compensation.

Economic-damages analysis in claims brought under the Age Discrimination in Employment Act, Title VII of the Civil Rights Act of
1964, the Americans with Disabilities Act and other civil rights laws.


Personal Injury and Wrongful Death Matters

Calculated economic loss to individuals in a variety of occupations, including but not limited to:

   •   Accountants                                                 •   Pilots
   •   Artists (including actors, painters, musicians)             •   Police officers
   •   Construction workers                                        •   Professional Athletes
   •   Doctors, nurses, dentists, other medical professionals      •   Railroad Workers
   •   Financial professionals                                     •   Retirees
   •   Homemakers                                                  •   Sales representatives
   •   Information technologists                                   •   Teachers
   •   Lawyers                                                     •   Trade and Labor union members
   •   Mechanics                                                       (including carpenters, electricians, ironworkers,
   •   Minor children (projected lost future earnings)                 laborers, painters, steamfitters, truck drivers)



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                                                                                                       Cherry Hill, NJ 08034




Publications

   •   “A Tax Break for Plaintiffs Raises Interesting Issues,” Employment Law Strategist, November 2009 (With Chad L. Staller).



Faculty/Lectures

   •   Temple University Beasley School of Law Guest Lecturer, 2004 to present
   •   Temple University Beasley School of Law LLM in Trial Advocacy program, 2007 to present
   •   Cozen O’Connor Trial Academy, 2009, 2011, 2013, 2015, 2017, 2019
   •   Stevens & Lee Trial Advocacy Workshop, 2010, 2014
   •   Ballard Spahr Deposition Training Program, 2011, 2013, 2014
   •   Mintzer Sarowitz Trial Advocacy Workshop, 2012
   •   Marshall Dennehey Trial Advocacy Workshop, 2013
   •   Margolis Edelstein Trial Advocacy Workshop, 2014
   •   Sweeney & Sheehan Trial Advocacy Workshop, 2015
   •   Drexel University School of Law Guest Lecturer, 2015, 2018
   •   Cozen O’Connor Deposition Training Academy, Philadelphia, PA, 2018, 2019
   •   Southern Economic Association 89th Annual Conference, National Association of Forensic Economics division, Tax Gross-Ups
       in Employment Litigation: A NJ Case Study, Ft. Lauderdale FL, November 2019
   •   The Expert and the Daubert/Frye Hearing, The American Academy of Economic and Financial Experts Annual Meeting,
       April 2021.



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         Testimony List for Chad L. Staller, Esq., M.B.A., M.A.C.
Month/
                                 Case Name                                 Location                 Type
 Year
Nov-23          Reshma Abell v. Pacira Pharmaceuticals, Inc.              Newark, NJ                Trial
Oct-23      Matthew Gallagher v. 1760 Market Partners, LP, et al.       Philadelphia, PA            Trial
Oct-23            Charles Talian v. Dr. Gregory Peck, et al.            Haddonfield, NJ           Deposition
Oct-23         Gary Nelson v. Spark Therapeutics, Inc., et al.          Haddonfield, NJ           Deposition
             Estate of Raymond Jackson v. UM BWM Pasadena
Oct-23                                                                  Haddonfield, NJ           Deposition
                            Primary Care, et al.
Oct-23             Charles Bennett v. REMCO, Inc., et al.               Haddonfield, NJ           Deposition
              Gabriel Dwyer, PPA Charity Dwyer v. Littleton
Oct-23                                                                  Haddonfield, NJ           Deposition
                            Regional Healthcare
Oct-23        Call Delivery Systems, LLC v. Daryl Morgan et al.         Los Angeles, CA             Trial
Oct-23          Barbara Hecht v. BT Lincoln Wood, LP, et al.            Philadelphia, PA            Trial
Sep-23        Call Delivery Systems, LLC v. Daryl Morgan et al          Haddonfield, NJ           Deposition
            Kathleen Ford, et al. v. Edmondson Village Shopping
Sep-23                                                                  Baltimore, MD               Trial
                           Center Holdings, LLC
Sep-23      John Benjamin, et al. v. Spencer Monaco, DPM, et al.       West Chester, PA             Trial
Sep-23          Cheryl Staubs v. The Johns Hopkins Hospital             Haddonfield, NJ           Deposition
Sep-23         Kenneth Rooks, et al. v. Medstar Georgetown              Haddonfield, NJ           Deposition
               William Douglass v. Greater Baltimore Medical
Sep-23                                                                  Haddonfield, NJ           Deposition
                                 Center, Inc.
Sep-23        Audrey Donato, et al. v. Adam Lipson, M.D., et al.        Haddonfield, NJ           Deposition
            Estate of Nicole Mesidor v. Constance Amuzu, R.N., et
Sep-23                                                                   Woburn, MA                 Trial
                                      al.
            Estate of Audrey B. Williams v. Herve Boucard, M.D.,
Sep-23                                                                  Haddonfield, NJ           Deposition
                                    et al.
                 Estate of Johnny Ortiz v. Pulmonary Medical
Aug-23                                                                  Haddonfield, NJ           Deposition
                                  Associates
Aug-23      Charles Trott v. Bayhealth Medical Center, Inc., et al.     Cherry Hill, NJ           Deposition
            Alexandra Jany-Silliman, et al. v. Lehigh Valley Health
Aug-23                                                                   Allentown, PA              Trial
                                   Network
              Jennifer Burnside, et al. v. Christiana Care Health
Aug-23                                                                  Haddonfield, NJ           Deposition
                             Services, Inc., et al.
Aug-23             Daniel Anderson v. Monsanto Company                  Haddonfield, NJ           Deposition
Aug-23           Jimmy Draeger, et al. v. Monsanto Company              Haddonfield, NJ           Deposition
Aug-23             Valorie Gunther v. Monsanto Company                  Haddonfield, NJ           Deposition
Aug-23           Anthony Cloud, et al. v. Monsanto Company              Haddonfield, NJ           Deposition
Aug-23           Frank Racitano, et al. v. Monsanto Company             Haddonfield, NJ           Deposition
Aug-23             Barry Syra, et al. v. Monsanto Company               Haddonfield, NJ           Deposition
            Henick-Lane, Inc. v. Hudson Meridian Construction, et
Aug-23                                                                  Haddonfield, NJ           Deposition
                                       al.
            Ismail Mohammed, et al. v. Northside Hospital, Inc., et
Jul-23                                                                  Haddonfield, NJ           Deposition
                                       al.
            Henick-Lane, Inc. v. Hudson Meridian Construction, et
Jul-23                                                                  Haddonfield, NJ           Deposition
                                       al.
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         Testimony List for Chad L. Staller, Esq., M.B.A., M.A.C.
Month/
                                  Case Name                                  Location                 Type
 Year

Jul-23      James Kurpick, et al. v. Overlook Medical Center, et al.      Haddonfield, NJ           Deposition
              Rakese Darling, et al., on behalf of Carson Pitts v.
Jul-23                                                                    Haddonfield, NJ           Deposition
                  Katherine Elizabeth Webb, M.D., et al.
Jul-23             Jose Ramos v. Daniel A. Caba-Abreau                  New Brunswick, NJ             Trial
Jul-23           Mark Lucier, et al. v. 3M Company, et al.                Linwood, NJ               Deposition
Jun-23           Veronica Doe v. Rutgers University, et al.              Haddonfield, NJ            Deposition
Jun-23      David Rowan, et al. v. Penn Medicine Princeton Health         Haddonfield, NJ           Deposition
              Jan O'Connor, et al. v. The Johns Hopkins Health
Jun-23                                                                    Haddonfield, NJ           Deposition
                         System Corporation, et al.
              Tri-County Hospitalists, LLC v. Prime Healthcare
Jun-23                                                                    Haddonfield, NJ             Trial
                        Services-Roxborough, LLC
Jun-23       Estate of Paul Mannina v. District of Columbia, et al.       Haddonfield, NJ           Deposition
                 Matthew McGeady, et al. v. Corman Marine
Jun-23                                                                    Baltimore, MD               Trial
                             Construction, Inc.
May-23           Rose Kochka v. Allegheny Health Network                  Haddonfield, NJ           Deposition
            Trevor Herman v. Gundersen Lutheran Medical Center,
May-23                                                                    Cherry Hill, NJ           Deposition
                                   Inc.
May-23        Andrea Armato v. Mark O. Covington, M.D., et al.            Haddonfield, NJ           Deposition
May-23           Demetrius Beaty v. David Lin, D.P.M., et al              Haddonfield, NJ           Deposition
              Estate of Erika Stoleru v. Maternal Fetal Medicine
May-23                                                                    Rockville, MD               Trial
                                  Associates
May-23       Alexander Korenfeld v. Emory Healthcare, Inc., et al.        Haddonfield, NJ           Deposition
              Tri-County Hospitalists, LLC v. Prime Healthcare
May-23                                                                    Haddonfield, NJ           Deposition
                        Services-Roxborough, LLC
               Sherri Lewis v. University of Pennsylvia Health
May-23                                                                    Philadelphia, PA            Trial
                                System, et al.
May-23           Herman Mullins v. St. Francis Health, LLC                Haddonfield, NJ           Deposition
            Lori Gardner-Alfred, et al. v. Federal Reserve Bank of
May-23                                                                    Haddonfield, NJ           Deposition
                                  New York
May-23         Vipa Gupta, et al. v. Robyn Meglio, M.D., et al.           Haddonfield, NJ           Deposition
May-23       Cathy Mantua v. The Johns Hopkins University, et al.         Haddonfield, NJ           Deposition

Apr-23        Betty Fulmore-Thomas v. Paul S. Park, M.D., et al.          Haddonfield, NJ           Deposition
Apr-23            Manuel Rosa v. Claudia Reiser, R.N., et al.             Norristown, PA              Trial
Apr-23       Robert Quigley, et al. v. Charles Sacks, DMD, et al.         Philadelphia, PA            Trial
             Estate of Jon S. Grala, et al. v. Christiana Care Health
Apr-23                                                                    Haddonfield, NJ           Deposition
                               Services, Inc., et al.
            Paris Chian Johnson and Ronnie Darden, et al. v. Seton
Apr-23                                                                    Haddonfield, NJ           Deposition
                           Medical Group, Inc., et al.
Mar-23           Damilare Sonoiki v. Harvard University, et al.           Haddonfield, NJ           Deposition
            Jennifer Lee Adams, Friend of AA, a minor v. Medical
Mar-23                                                                    Haddonfield, NJ           Deposition
                         Faculty Associates, Inc., et al.
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     Testimony List for Chad L. Staller, Esq., M.B.A., M.A.C.
Month/
                                Case Name                                  Location                 Type
 Year
           Dina Devincenzo-Gambone, et al. v. Erie Insurance
Mar-23                                                                  Norristown, PA              Trial
                                 Exchange
Mar-23      Frederick Moore v. Tricia Keville, APRN, et al.             Haddonfield, NJ           Deposition
Mar-23          Dina Meeker v. Dr. David Boarini, et al.                Haddonfield, NJ           Deposition
            Arthur O'Brien, et al. v. University of Maryland
Mar-23                                                                  Haddonfield, NJ           Deposition
                 Community Medical Group, Inc., et al.
Mar-23        Jeffrey Davis v. Washington Hospital Center               Haddonfield, NJ           Deposition
          Sonia Arago, et al. v. Naples Community Hospital, et
Mar-23                                                                  Haddonfield, NJ           Deposition
                                    al.
Mar-23    Cornelius Kilgore, et al. v. Monsanto Company, et al.         Cherry Hill, NJ           Deposition
Mar-23       Phillip Altine v. Suraj Menacherty, M.D., et al.           Cherry Hill, NJ           Deposition
Feb-23             Jones, et al. v. District of Columbia                Haddonfield, NJ           Deposition
Feb-23   Michael Hanna v. Al Jazeera International (USA), LLC           Cherry Hill, NJ           Deposition
Feb-23        Jacob Haygood v. JWC Environmental, Inc.                  Haddonfield, NJ           Deposition
Feb-23      G.M. McCrossin Inc. v. Walsh/Granite UV, et al.             Harrisburg, PA              Trial
Feb-23     Albert Dejewski v. National Beverage Corp., et al.           Haddonfield, NJ           Deposition

Feb-23     Estate of Gerald Jones v. Alexander Aurora, M.D.              Bel Air, MD                Trial

Feb-23      Jeanine Tansey v. Andrea Vamburas, M.D., etal.               Mineola, NY                Trial

Feb-23    Shelly Solano v. Sarah Maria Sampson, CRNP, et al.            Baltimore, MD               Trial
             Thomas William Hitt v. Dimensions Healthcare
Jan-23                                                                Upper Marlboro, MD            Trial
                             Corporation
Jan-23        Mark Lenzi v. US Department of State, et al.              Haddonfield, NJ           Deposition
              Edna M. Neal v. Johns Hopkins Community
Jan-23                                                                  Haddonfield, NJ           Deposition
                           Physicians, et al.
Jan-23    Carlos Smith, et al. v. Missale Solomon, M.D., et al.         Haddonfield, NJ           Deposition
           Estate of Patty Ann Bauer, et al. v. Barry Greene,
Dec-22                                                                  Haddonfield, NJ           Deposition
                              M.D., et al.
          Carla Ortiz, on behalf of J.L., a minor v. Ben Strong
Dec-22                                                                  Haddonfield, NJ           Deposition
                          Trucking, Inc., et al.
          Estate of Wilvina A. Lasite-Luke v. Adedeji Olatunji
Dec-22                                                                  Haddonfield, NJ           Deposition
                          Karunwi, M.D., et al.
Dec-22    Heather Shallis, et al. v. Main Line Health, Inc., et al.     Norristown, PA              Trial
         Hooshang Amirahmadi v. Rutgers, The State University
Dec-22                                                                  Haddonfield, NJ           Deposition
                        of New Jersey, et al.
Dec-22     Estate of Maciej Dryja v. Cindy Sturt, M.D., et al.          Haddonfield, NJ           Deposition
Nov-22          Estate of Arya Butler v. Fisher Price, Inc.             Haddonfield, NJ           Deposition
Nov-22   Estate of Edward Reponte v. United States of America           Haddonfield, NJ           Deposition
         Estate of Catherine Gouzoule v. David Berger, M.D., et
Nov-22                                                                   Boston, MA                 Trial
                                  al.
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     Testimony List for Chad L. Staller, Esq., M.B.A., M.A.C.
Month/
                               Case Name                                 Location                 Type
 Year
Nov-22      Darius Hrychroczuk v. 1677 43rd St., LLC, et al.           Brooklyn, NY               Trial
Nov-22         Damon Jefferson v. City of Trenton, et al.               Trenton, NJ               Trial
Nov-22    Dylan John Michalski v. Elaine Khatod, M.D., et al.         Haddonfield, NJ           Deposition
         Kevin Lewis v. Allied Barton Security Services, LLC,
Nov-22                                                                Philadelphia, PA            Trial
                                et al.
Nov-22      Michele Easley v. Gerrit Schipper, M.D., et al.           Haddonfield, NJ           Deposition
Nov-22       Mario Tapia Meza, et al. v. Oak Contracting              Haddonfield, NJ           Deposition
Nov-22      Estate of Margarito Lopez v. Oak Contracting              Haddonfield, NJ           Deposition
         Timothy Yeager v. Unified Door and Hardware Group,
Oct-22                                                                Philadelphia, PA            Trial
                                LLC
Oct-22    Ojinika Ikedilo, M.D., v. Mindy Slatter, M.D., et al.       Haddonfield, NJ           Deposition

Oct-22    John Abraham, M.D. v. Thomas Jefferson University           Haddonfield, NJ           Deposition

Oct-22    Estate of Michael Wisto v. United States of America         Haddonfield, NJ           Deposition
Oct-22                 Todd White v. Acell, Inc.                      Baltimore, MD               Trial
Oct-22        Gary Zipay, et al. v. Jack Henzes, M.D., et al.          Scranton, PA               Trial
Oct-22         Martin D. Griswold v. Monsanto Company                 Haddonfield, NJ           Deposition
         Christopher Barbarevech, M.D. v. Nicole Tomlinson, et
Oct-22                                                                 Kingston, PA               Trial
                                     al.
Sep-22   Estate of Michael Hars v. Gerard Ventrella, M.D., et al.     Haddonfield, NJ           Deposition

Sep-22    Healthy Beverages, LLC v. Caribbean Distillers LLC          Haddonfield, NJ           Deposition
             Robert Stonesifer, et al. v. The Johns Hopkins
Sep-22                                                                Haddonfield, NJ           Deposition
                              University
Sep-22    Steven Levine, et al. v. Gabrielle Jasper, M.D., et al      Haddonfield, NJ           Deposition
           Jelani T. Cooper v. Pennsylvania Human Relations
Sep-22                                                                Harrisburg, PA              Trial
                              Commission
Sep-22           Sharmila Jaipersaud v. Lamar Hansard                 Haddonfield, NJ           Deposition
Sep-22     Katoyia Charles v. Prime Healthcare Services et al.        Haddonfield, NJ           Deposition
Sep-22      Peyman Farzinpour v. Berklee College of Music             Haddonfield, NJ           Deposition
Sep-22         Victor P. Losanno v. 3M Company, et al.                Haddonfield, NJ           Deposition
Sep-22       Estate of Richard J. Dunn v. Sun Miao, M.D.              Haddonfield, NJ           Deposition
Sep-22    Pamela Steinbruck v. Travelers Indemnity Company             Hartford, CT               Trial
Aug-22            Vikki Vreeland v. Raymond Vreeland                   Danville, PA               Trial
Aug-22       Debora Lockwood v. James Gasho, M.D. et al                Fairfax, VA                Trial
            Estate of Daniel R. Englert v. Saint Luke's Health
Aug-22                                                                Haddonfield, NJ           Deposition
                            System, Inc. et al.
Aug-22   Estate of Noah Burke v. Butler County, Missouri, et al.      Haddonfield, NJ           Deposition
         Estate of Matthew McSherry v. Venkata Satyam, M.D.,
Aug-22                                                                  Lowell, MA                Trial
                                et al
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         Testimony List for Chad L. Staller, Esq., M.B.A., M.A.C.
Month/
                                  Case Name                                 Location                 Type
 Year

Aug-22       Estate of Janice Hence v. Louis Balsama, D.O., et al.       Haddonfield, NJ           Deposition
Aug-22          Cassie Defoor v. Wellstar Health System, Inc.            Haddonfield, NJ           Deposition
Jul-22           Tim Davis v. The Rumsey Hall School, Inc.               Haddonfield, NJ           Deposition
Jul-22      Harold Moore v. The Hunter Safety System, Inc. et al.         Linwood, NJ              Deposition

Jun-22       Ryan Muller v. Bethesda Chevy Chase Orthopaedic             Haddonfield, NJ           Deposition
Jun-22                Estate of Bradley v. Apple, Inc.                   Haddonfield, NJ           Deposition
            Asher Louis Collins v. Birhane Gragne Oljira, M.D.,et
Jun-22                                                                   Haddonfield, NJ           Deposition
                                      al.
               Estate of Destiny Lopez-DeVictoria v. The Good
Jun-22                                                                    Lebanon, PA                Trial
              Samaritan Hospital of Lebanon Pennsylvania, et al.
               Christie L. Gayda v. Rosedale Baptist Church of
Jun-22                                                                   Haddonfield, NJ           Deposition
                              Hammonton, Inc.
Jun-22          Betty JoMackert v. Sazdr Abed, M.D., et al.              Haddonfield, NJ           Deposition
Jun-22       Michael A. Wood, Jr., et al. v. City of Bismark, et al.     Haddonfield, NJ           Deposition
Jun-22          Gianna Chakeres v. Mark Seigel, M.D., et al.             Haddonfield, NJ           Deposition
            Erik Blair, on behalf of, himself and similarly situated
May-22      employees v. Comprehensive Healthcare Management             Haddonfield, NJ           Deposition
                             Services, LLC, et al.
              Estate of Catherine Conte v. Mathew Cholankeril,
May-22                                                                   Haddonfield, NJ           Deposition
                                  M.D., et al.
             Estate of Erika Stoleru v. Maternal Fetal Medicine
May-22                                                                   Haddonfield, NJ           Deposition
                                  Associates
May-22                     Todd White v. Acell, Inc.                     Haddonfield, NJ           Deposition
May-22      Kyle and Santana Kimball v. Summit Tree Stands, LLC          Alexandria, LA              Trial
May-22             Robert McManus v. Walgreens Co. et al.                Philadelphia, PA            Trial
May-22          Karen Cain v. Mukul Khandelwal, M.D. et al.                Ellicott, MD              Trial
             Estate of Kathleen Shortlidge-Toth v. Public Service
Apr-22                                                                   Cherry Hill, NJ           Deposition
                               Electric and Gas
               Vladimir Bozic, M.D. v. Orthopedic Emergency
Apr-22                                                                  Mount Laurel, NJ             Trial
                          Services Springdale, LLC
             Estate of Tyrone Grundy v. Saint Barnabas Medical
Apr-22                                                                   Haddonfield, NJ           Deposition
                                 Center et al.
                Gary Hamilton v. Carlos Del Toro, Secretary,
Apr-22                                                                   Haddonfield, NJ           Deposition
                           Department of The Navy
Apr-22      William and Mary Cochrane v. Kiran Rao, M.D., et al.         Haddonfield, NJ           Deposition
Apr-22               Scott Fahley v. Coach USA, LLC                      Philadelphia, PA            Trial
              James Nader as father of Brian Nader v. Maryland
Apr-22                                                                   Haddonfield, NJ           Deposition
                        Neighborly Networks, Inc.
Apr-22           Zamari Reese v. United States of America                Greenbelt, MD               Trial
Apr-22        Call Delivery Systems, LLC v. Daryl Morgan et al           Los Angeles, CA             Trial
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 Year
         Joseph J. Pedicone, III v. Thompson/Center Arms, LLC
Mar-22                                                                Wilmington, DE                Trial
                                    et al
            Estate of Michael Angelo Musto v. First Colonies
Mar-22                                                                Haddonfield, NJ             Deposition
                       Anesthesia Associates, LLC
Mar-22         Xavier Ingram v. County of Camden, et al.                Camden, NJ                  Trial
         Kaleb Umama v. The Fulton-Dekalb Hospital Authority
Mar-22                                                                Haddonfield, NJ             Deposition
               (FDHA) d/b/a Grady Health System, et al.
Mar-22          Leon Stone v. City of Philadelphia, et al.            Philadelphia, PA              Trial
         Edward Hastings, et al. v. Henry Ford Health System,
Mar-22                                                                Haddonfield, NJ             Deposition
                                 et al.
         Estate of Vincent Montroy v. David A. August, M.D.,
Mar-22                                                                Haddonfield, NJ             Deposition
                                 et al.
Mar-22    Kurt K. Trabold, et al. v. Dale R. Heitzig, M.D., et al     Haddonfield, NJ             Deposition
          Amilcar Cunha and Dulce Cunha v. Stanley Goral, et
Mar-22                                                                Haddonfield, NJ             Deposition
                                 al.
           Imen and Hattab Gharbi v. The United States of
Feb-22                                                                 Scranton, PA                 Trial
                              America
Feb-22      Denise Collins v. Houston Healthcare System               Haddonfield, NJ             Deposition
Feb-22   Z&R Cab, LLC et al v. Philadelphia Parking Authority         Philadelphia, PA              Trial
         American Layout & Land Surverying, LLC v. Remchuk
Jan-22                                                                Haddonfield, NJ             Deposition
                          Surverying, Inc. et al
         Delena Elias, a minor v. Vibhakar Jagmohandas Mody,
Jan-22                                                                Haddonfield, NJ             Deposition
                               M.D. et al
Jan-22   Estate of Winston Robinson v. Laurence Chaise, M.D.          Haddonfield, NJ             Deposition

Dec-21   Estate of William Soper v. Jonathan Lowenthal, M.D.        Prince Frederick, MD            Trial
         Ahmad Abouchabab and Inchad Alaouie v. Henry Ford
Dec-21                                                                Haddonfield, NJ             Deposition
                          Health System et al
          Estate of Gabriel Amoss v. University of Maryland
Dec-21                                                                Haddonfield, NJ             Deposition
                            Physicians, PA
Dec-21    Dennis and Jennifer Scannapieco v. Priscilla Stokes           Trenton, NJ                 Trial
Nov-21           Robert Bird v. Monsanto Company                      Haddonfield, NJ             Deposition
            Thomas William Hitt v. Dimensions Healthcare
Nov-21                                                                Haddonfield, NJ             Deposition
                            Corporation
Nov-21          Tracey White v. Elizabeth Lowe, M.D.                  Haddonfield, NJ             Deposition
          Jonathan Young v. University of Maryland Medical
Oct-21                                                                 Baltimore, MD                Trial
                               System
Oct-21    Romana Bowman v. Richard Perolizzi, Jr., M.D. et al          Arlington, VA                Trial
Oct-21          Tish Nalls-Castillo v. Anthony Viso et al             Haddonfield, NJ             Deposition
Oct-21   Estate of Robert Hollenbeck, Jr. v. Daniel Clattenburg       Haddonfield, NJ             Deposition
Sep-21     Estate of Smith Cukierski v. John Fernandes, M.D.          Haddonfield, NJ             Deposition
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             Caroline and Joseph Andrews v. Hsaio-Hui Lin, M.D.
Sep-21                                                                   Haddonfield, NJ            Deposition
                                     et al
            Estate of Vickie Ramsey Stock v. Keri Ingrassia Squire,
Sep-21                                                                   Haddonfield, NJ            Deposition
                                     D.O.
Sep-21                    Mary Lanzillotta v. GECIO                      Haddonfield, NJ            Deposition
                Robert Kortenhaus v. The Prudential Insurance
Sep-21                                                                   Haddonfield, NJ            Deposition
                             Company of America
              Lillian and Samuel Himbrick v. Donald Shields, II,
Sep-21                                                                   Haddonfield, NJ            Deposition
                                  M.D. et al
Sep-21               Tocci Building Corporation v. Connell             Berkley Heights, NJ            Trial
Aug-21      Catherine Hodges, a minor v. United States of America        Haddonfield, NJ            Deposition
Aug-21         Rosa Urena Acosta v. Gregg Zimmerman, M.D.                Haddonfield, NJ            Deposition
Aug-21        Ramona Bowman v. Richard Pergolizzi, Jr., M.D.             Haddonfield, NJ            Deposition
Aug-21         Beth and Chuck Spector v. Monsanto Company                Haddonfield, NJ            Deposition
Aug-21       Jordan Biggs, a minor v. Harbor Hospital, Inc. et al        Baltimore, MD                Trial
              Michael Gardner v. Cantor Fitzgerald Investment
Aug-21                                                                   New York, NY                 Trial
                                Advisors, LP
             Jennifer Fischman v. Mitsubishi Chemical Holdings
Jul-21                                                                   Haddonfield, NJ            Deposition
                                   America
              Patricia Kropf, M.D. v. Temple University Health
Jul-21                                                                   Philadelphia, PA             Trial
                                   System
               Estate of Brenda Lee Rozek v. Box Hill Surgery
Jul-21                                                                    Bel Air, MD                 Trial
                              Center, LLC et al
Jul-21           Michael and Lori Vance v. Joan Scerbo et al              Linwood, NJ               Deposition
Jul-21          Robert Manz v. Brenntag North America et al              Haddonfield, NJ            Deposition
            Estate of Michael Hageman v. Jersey Shore University
Jul-21                                                                   Haddonfield, NJ            Deposition
                             Medical Center et al
Jul-21          Estate of Emily Dao v. Mark Birns, M.D. et al            Haddonfield, NJ            Deposition
Jul-21         Jakob Scottoline, a minor v. Woman First, LLC             Haddonfield, NJ            Deposition
            Eugen Schenfeld v. International Business Machines et
Jul-21                                                                   Haddonfield, NJ            Deposition
                                      al
Jul-21       Estate of Tyrone Francis v. Mikel Daniels, DPM et al        Haddonfield, NJ            Deposition
Jun-21                     Qing Qin v. Vertex, Inc.                      Haddonfield, NJ            Deposition
Jun-21        Call Delivery Systems, LLC v. Daryl Morgan et al           Haddonfield, NJ            Deposition
            Joseph and Kaylee Gorman v. Midwest Division-RBH,
Jun-21                                                                   Haddonfield, NJ            Deposition
                                     LLC
Jun-21             Cassidy Plunkard v. Charles Marks, D.O.               Harrisburg, PA               Trial
May-21             Shaun Armes v. Bilal Qureshi, M.D. et al              Haddonfield, NJ            Deposition
May-21        Aubrie Hysell, a minor v. Raleigh General Hospital          Beckley, WV                 Trial
Apr-21        Denise Pine v. Anne Arundel Medical Center, Inc.           Haddonfield, NJ            Deposition
            Landon Day-Frazier, a minor v. Physicians Clinic, Inc.
Apr-21                                                                   Haddonfield, NJ            Deposition
                                     et al
Apr-21      Estate of Veronica Ann Gates v. Scott Katzman, M.D.          Haddonfield, NJ            Deposition
            Estate of Philip Marzetti v. Thomas Fassuliotis, M.D. et
Apr-21                                                                   Haddonfield, NJ            Deposition
                                        al
Apr-21          Linda Green v. H. Richard Alexander, Jr., M.D.           Haddonfield, NJ            Deposition
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            Susan and Robert Gallion v. The Johns Hopkins
Apr-21                                                               Haddonfield, NJ           Deposition
                              Hospital et al
Apr-21        Reshma Abell v. Pacira Pharmaceuticals, Inc.           Haddonfield, NJ           Deposition
Mar-21       Estate of Ryan Newton v. Anthony Yang, M.D.             Haddonfield, NJ           Deposition
           Cynthia and Norman Cowger v. Cooper Industries,
Mar-21                                                               Haddonfield, NJ           Deposition
                                  LLC
             Jennifer and Alpha Diawara v. United States of
Mar-21                                                               Philadelphia, PA            Trial
                                America
Mar-21           Roy Rust v. Stephen Cooper, M.D. et al              Haddonfield, NJ           Deposition
         Joseph and Hilma Pedicone v. Thompson/Center Arms
Mar-21                                                               Haddonfield, NJ           Deposition
                             Company, LLC
Mar-21      Dennis and Dawn Bergeron v. Timothy Strohmer             Haddonfield, NJ           Deposition
Mar-21          Dennis Comer v. Wells Fargo Bank, N.A.               Haddonfield, NJ           Deposition
Feb-21        Danielle Markou Lenzi v. Systemax, Inc. et al          Haddonfield, NJ           Deposition
           Tiffany Brown, an incapcitated adult v. Blue Ridge
Feb-21                                                               Haddonfield, NJ           Deposition
                     Georgia Hospital Company et al
Feb-21   Estate of John Couls v. Triumph Motorcycles, Limited        Haddonfield, NJ           Deposition
Feb-21      Christopher Pechock v. Robert Ritter, Esquire            Haddonfield, NJ           Deposition
Jan-21     Estate of Felicia Parker v. Whitney Matz, M.D.            Haddonfield, NJ           Deposition
Jan-21    William Richardson, a minor v. FCA US, LLC et al           Haddonfield, NJ           Deposition
Jan-21          John Doe v. Loyola University Chicago                Haddonfield, NJ           Deposition
Jan-21   Frederick and Sylvia Ablorh v. Liquidity Services, Inc.     Haddonfield, NJ           Deposition
Dec-20           Sarah Coulter v. Dr. Charles Weaver                 Haddonfield, NJ           Deposition
            Vanette Miller and Marquis Hardy v. Midwest
Dec-20                                                               Haddonfield, NJ           Deposition
                               Radiology
Dec-20           Estate of Susan Niler v. Essex County               Haddonfield, NJ           Deposition
              Keith Booth, II v. Baltimore City Board of
Dec-20                                                               Haddonfield, NJ           Deposition
                            Commissioners
Nov-20      Patricia Asbury et al v. EQT Corporation et al           Haddonfield, NJ           Deposition
Nov-20         Emma Smith, a minor v. Thomas E. Aliff                Haddonfield, NJ           Deposition
         Estate of George James v. Plastics Machinery Group,
Nov-20                                                                Scranton, PA               Trial
                                Inc. et al
Oct-20   Estate of Michelle Roberts v. Carlton Scroggins, M.D.       Haddonfield, NJ           Deposition

Oct-20   Berkovitch & Bouskila, PLLC v. ABF Serviving, LLC           Hawthorne, NY               Trial
Oct-20     Deborah Bolyard v. Hugo Benalcazar, M.D. et al             Towson, MD                 Trial
Oct-20     Miguel Rivera et al v. Sigma Plastics Group et al         Haddonfield, NJ           Deposition
           Estate of Joseph Corey v. Wilkes-Barre General
Oct-20                                                              Wilkes Barre, PA             Trial
                               Hospital
Oct-20             Joseph Greco v. NGIA, Inc. et al                  Haddonfield, NJ           Deposition
Sep-20      Nadine Pellegrino v. United States of America            Haddonfield, NJ           Deposition
Sep-20    Lynn Lobe v. National Rehabilitation Hospital, LLC         Haddonfield, NJ           Deposition
             Estate of Robert Magarino v. Premier Health
Sep-20                                                               Haddonfield, NJ           Deposition
                           Associates, LLC
Sep-20     Estate of Johnny Cheung v. Valley Health System           Haddonfield, NJ           Deposition
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         Testimony List for Chad L. Staller, Esq., M.B.A., M.A.C.
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Aug-20       Jordan Biggs, a minor v. Harbor Hospital, Inc. et al        Haddonfield, NJ            Deposition
            Harper Hasson, a minor et al v. Karen Y. Perkins, M.D.
Aug-20                                                                   Haddonfield, NJ            Deposition
                                     et al
Jul-20        Estate of Gerald Jones v. Alexander Aurora, M.D.           Haddonfield, NJ            Deposition
Jul-20      Estate of Michelle Zabriskie v. Eric Knight, M.D. et al      Haddonfield, NJ            Deposition
Jul-20         Estate of Angella Downer v. Louis Turano, III             Haddonfield, NJ            Deposition
Jun-20        Leora and Gabriel Haller v. Mukhtar Husain et al           Haddonfield, NJ            Deposition
Jun-20        Estate of Hobart Goins v. Joseph Robinson, M.D.            Annapolis, MD              Deposition
Jun-20       Rulla Schroll v. Southern Ocean Medical Center et al        Haddonfield, NJ            Deposition
May-20             Estate of Jonathan Riley v. Patient Firt              Haddonfield, NJ            Deposition
              Walter and Margaret Maronski v. Kennedy Health
May-20                                                                   Haddonfield, NJ            Deposition
                              System, Inc. et al
Apr-20      Shivanya Pandya, a minor v. Richard Jones, M.D. et al        Haddonfield, NJ            Deposition
              Brock Hamlet, a infant v. Mitra Foroogh-Nassiraee,
Apr-20                                                                   Baltimore, MD              Deposition
                                       M.D.
Apr-20           Debora Lockwood v. James Gasho, M.D. et al                Fairfax, VA              Deposition
Mar-20               Juliet Johansson v. Ryder System, Inc.            Fort Lauderdale, FL            Trial
Mar-20            Douglas Gelber, DMD v. New Jersey Transit               Patterson, NJ               Trial
Feb-20         James Bonds v. Rocheleau Tool and Die Co., Inc.          Philadelphia, PA              Trial
Feb-20              Lynn Lazzaro v. Cyrus Hamidi, M.D. et al            Philadelphia, PA            Deposition
             Fernando Rodriguez v. The Johns Hopkins Hospital,
Feb-20                                                                   Philadelphia, PA           Deposition
                                       Inc.
             Cynthia Brooks-Holt v. The JohnsHopkins Hospital et
Feb-20                                                                   Philadelphia, PA           Deposition
                                         al
                   Jeff and Cynthia Kirby v. Emerson Climate
Feb-20                                                                   Philadelphia, PA           Deposition
                                Technologies, Inc.
Feb-20                  Salim Black v. Paul Sensenig et al               Philadelphia, PA             Trial
             Lucas Sandel, a minor v. Mofolusho Sodeke, M.D. et
Feb-20                                                                   Philadelphia, PA           Deposition
                                         al
Feb-20              John Carr v. SRA International, Inc. et al           Philadelphia, PA           Deposition
Feb-20              Lynn Lazzaro v. Cyrus Hamidi, M.D. et al              Baltimore, MD             Deposition
Feb-20                Mario Cannon v. Monsanto Company                   Philadelphia, PA           Deposition
Feb-20                  Leroy Seitz v. Monsanto Company                  Philadelphia, PA           Deposition
Jan-20              Carla Peters v. Patrick Mahon, M.D. et al            Philadelphia, PA           Deposition
Jan-20                       In Re Altenex Valuation                       Boston, MA                 Trial
                Ryan and Crystal Hysell et al v. Raleigh General
Jan-20                                                                   Philadelphia, PA           Deposition
                                  Hospital et al
            Silvi Concrete Products, Inc. et al v. Thomas P. Carney,
Jan-20                                                                   Philadelphia, PA             Trial
                                     Inc. et al
             Zeakieal Walraven v. Modern Electrical Technology,
Dec-19                                                                   Philadelphia, PA           Deposition
                                     Inc. et al
             Grayson Hundt, a minor v. Margaret Cyzeski, M.D. et
Dec-19                                                                   Philadelphia, PA           Deposition
                                         al
Nov-19        Michael Stein v. Medstar Union Memorial Hospital           Philadelphia, PA           Deposition
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          Estate of James Shiffner v. Buffalo General Medical
Nov-19                                                              Queens, NY                Trial
                              Center et al
Nov-19     Deborah Bolyard v. Hugo Benalcazar, M.D. et al         Philadelphia, PA          Deposition
Nov-19        Lindsay Andrews v. Neel Madan, M.D. et al             Boston, MA                Trial
Nov-19       Dutch Clips LLC v. Ripstop by the Roll LLC           Philadelphia, PA          Deposition
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         Testimony List for Stephen M. Dripps, M.Fin., CVA
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May-23                     Frankino v. Frankino                     Carbon County, PA            Trial
Feb-23              Jones, et al. v. District of Columbia            Cherry Hill, NJ           Deposition
          Estate of Re'Asia Washington v. Southside Emergency
Sep-22                                                                 Media, PA               Deposition
                               Transport, Inc.
Jul-22         Stephen Lehmann v. Louisville Ladder, Inc.            Philadelphia, PA            Trial
Oct-21    Estate of Robert Hollenbeck, Jr. v. Daniel Clattenburg       Media, PA               Deposition
             Robert Kortenhaus v. The Prudential Insurance
Sep-21                                                                 Media, PA               Deposition
                         Company of America
Aug-21               Mary Lanzillotta v. GECIO                         Media, PA               Deposition
Jun-21         Tony Carson v. Tom Graddy Enterprises                   Media, PA               Deposition
Oct-20       Nadine Pellegrino v. United States of America             Media, PA               Deposition
Aug-20        Chad and Teresa Hudleson v. Nathan Ekkens                Easton, PA                Trial
